Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 1 of 7 PageID #: 113




                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION



   Peter Harris and Loni Harris,


                Plaintiffs,                  Case No. 1:24-cv-00313


         v.


   Upwintrade.com, a business                [Proposed] Order Granting
   association, David Shamlian, an           Plaintiffs’ Motion for Ex
   individual, and John Does 1 – 20,         Parte Temporary
                                             Restraining Order &
                                             Expedited Discovery
                Defendants.



        Plaintiffs have filed a Motion for Ex Parte Temporary Restraining

  Order and Expedited Discovery (the “Motion”), in which they seek an order

  requiring the freezing of the accounts associated with 29 deposit addresses at

  several cryptocurrency exchanges and authorization to issue subpoenas to

  various third parties likely to be in possession of information about the

  Defendants. The Court has reviewed Plaintiffs’ Motion and finds that, for the

  reasons set out therein, they face a risk of irreparable harm if the requested

  relief does not issue and notice to the Defendants should not be required.

  Accordingly, Plaintiffs’ Motion is hereby GRANTED.




                                       -1-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 2 of 7 PageID #: 114




        I.    Restraining Order

        Plaintiffs have submitted evidence tracing the assets they allege were

  stolen from them to 29 deposit addresses at the cryptocurrency exchanges

  Binance, Revolut, Remitano, and ByBit (the “Receiving Addresses”). The

  Receiving Addresses are:


   Exchange             Address


   Binance              13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix


   Binance              1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh


   Binance              1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox


   Binance              13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg


   Binance              1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj


   Revolut              bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy


   Remitano             38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf


   Remitano             38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv


   Remitano             3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A


   Remitano             3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63


   Remitano             3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu




                                     -2-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 3 of 7 PageID #: 115




   Remitano             3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE


   Remitano             3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU


   Remitano             3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N


   Remitano             3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y


   Remitano             3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB


   Remitano             3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy


   Remitano             3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9


   Remitano             3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW


   Remitano             33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA


   Remitano             3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz


   Remitano             31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83


   Remitano             35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW


   Remitano             3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA


   Remitano             3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a


   Remitano             3KSpJdiRmej8XkqCYswa58pff127b7nQxc


   Remitano             39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj




                                    -3-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 4 of 7 PageID #: 116




   ByBit                 1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ


   ByBit                 14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb


        For the reasons set out in the Motion, the Court finds that the accounts

  associated with these deposit addresses should be frozen. Accordingly, The

  Court hereby ORDERS that Defendants and their agents, servants,

  employees, attorneys, partners, successors, assigns, and all other persons or

  entities through which they act or who act in active concert or participation

  with any of them, who receive actual notice of this Order by personal service

  or otherwise, whether acting directly or through any trust, corporation,

  subsidiary, division or other device, or any of them, are hereby restrained

  from withdrawing, transferring, or encumbering any assets currently held by,

  for, or on behalf of the persons controlling the accounts associated with the

  above-listed Receiving Addresses, or any business entity through which they

  act or which acts in active concert or participation with them; including but

  not limited to those assets currently held at or for the Receiving Addresses.

        In accordance with Fed. R. Civ. P. 65(b)(2), this Order will expire

  fourteen (14) days from its entry unless it is extended for good cause shown.

  No bond shall be required to be posted by Plaintiff.

        II.    Expedited Discovery

        The Court finds that Plaintiffs’ request to issue expedited discovery

  should be granted for the reasons set out in the Motion. Plaintiffs are




                                       -4-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 5 of 7 PageID #: 117




  authorized to serve subpoenas on the third parties identified in their Motion.

  In light of the time-sensitivity of Plaintiffs’ subpoenas to the cryptocurrency

  exchanges to which their assets were ultimately transferred, Plaintiffs are

  further authorized to serve their subpoenas on these exchanges via email

  directed to the following addresses.


   Recipient                         Service Address


   Binance, Ltd.                     legal@binance.com

                                     compliance@binance.com


   Revolut Technologies, Inc.        legal@revolut.com

                                     compliance@revolut.com


   Babylon Solutions Limited         legal@remitano.com

                                     compliance@remitano.com


   Bybit Fintech Limited             legal@bybit.com

                                     compliance@bybit.com


        All subpoenaed parties shall produce the materials sought in the

  subpoena to Plaintiffs’ counsel within seven (7) days of their receipt of

  Plaintiffs’ subpoena and this Order.

        The Court finds that any privacy interest the Defendants have in the

  documents requested by Plaintiffs is outweighed by the need to investigate

  and prosecute the theft and conversion alleged in the complaint. Such privacy




                                         -5-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 6 of 7 PageID #: 118




  concerns shall not be good cause for the subpoenaed party to withhold the

  requested material.




                                       __________________________________



                                       __________________________________
                                       Date




                                    -6-
Case 1:24-cv-00313-MJT Document 2-3 Filed 08/02/24 Page 7 of 7 PageID #: 119




   Dated: August 2, 2024                   Prepared By:

                                           THE HODA LAW FIRM, PLLC




                                           Marshal J. Hoda, Esq.
                                           Tx. Bar No. 2411009
                                           12333 Sowden Road, Suite B
                                           PMB 51811
                                           Houston, TX 77080
                                           o. (832) 848-0036
                                           marshal@thehodalawfirm.com

                                           Attorney for Plaintiffs




                                    -7-
